Case 1:21-cv-03832-JGK Document 27 Filed 03/16/22 Page1of2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KIRAN VUPPALA,
21-cv-3832 (JGK)
Plaintiff,
ORDER
~ against -

232 W 14 RESTAURANT CORP., ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

It having been reported to this Court that the parties have
settled this action, it is, on this 16th day of March, 2022,
hereby ordered that this matter be discontinued with prejudice but
without costs; provided, however, that within 30 days of the date
of this order, counsel for the plaintiff may apply by letter for
restoration of the action to the calendar of the undersigned, in
which event the action will be restored.

Any application to reopen must be filed within thirty (30)
days of this order; any application to reopen filed thereafter may
be denied solely on that basis. Further, if the parties wish for
the Court to retain jurisdiction for the purpose of enforcing any
settlement agreement, they must submit the settlement agreement to
the Court within the same thirty-day period to be so-ordered by
the Court. Unless the Court orders ctherwise, the Court will not
retain jurisdiction to enforce a settlement agreement unless it is

made part of the public record.

Case 1:21-cv-03832-JGK Document 27 Filed 03/16/22 Page 2 of 2

All pending motions are dismissed as moot. Ail conferences

are canceled. The Clerk of Court is directed to close this case.

SO ORDERED.

Dated: New York, New York

March 16, 2022 CC

: ohn G. Koeltl
Unitéd States District Judge

